                  Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 1 of 52


AO 106 (Rev. 04/10) Application for a Search Warrant



                                                  United States D istrict Cour '
                                                                              for the
                                                                    Western District of New York

                                                  In the Matter of the Search of
                               (l/ri,jly drsmbe th, pmp,rty to be s,ar,'h,J'" idmtify the pn:,,,n hy nam, and addms.)


  1010 Cleveland Drive, Cheektowaga, New York 14225 and the person of John Stuart
  (Date of Birth 6/ I / ~ ) if found therein                                      Case No. 20-MJ-                                                 :5dQ /
                       ''\ «i ~ ir-~ ti,


                                                  APPLICATION FOR A SEARCH WARRANT
       1, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property (idencify the pe,;on or describe rh,
property to be s.'Orrhed andtive tlS locacionJ:
                         See Attachment A, which is attached hereto and incorporated by reference herein.

Located in the Western District of New York, there is now concealed (identify the person OT describe the property 10 be seued):
 Evidence, fro.its and instrumentalities pertaining to violations of Tide 18, United States Code, Sections
 2252A(a)(S)(B) and (b)(2), as more fully set forth in Attachment B, which is attached hereto and incorporated
 by reference herein.

The basis for search under Fed. R. Crim. P. 41(c) is (check one or more):
       181 evidence of a crime;
       181 contraband, fruits of crime, or other items illegally possessed;
       mi property designed for use, intended for use, or used in committing a crime;
       o a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of Title 18, United States Code, Sections 2252A(a)(S)(B) and (b)(2).

The application is based on these fact-;:

            181   continued on the attached sheet.
            o
                  requested unde,- 18 U. S.C. § 3103a, the basis of         fu,!h n the           w
                                                                                                  ~ :'
                  Delayed notice of _ _ days (give exact ending date if more than 30 days: ,___ _ __ _, is
                                                                                                sheet.

                                                                                                                        Applicant's si)/na111re


                                                                                                       MICHAEL HOCKWATER
                                                                                                       TASK FORCE OFFICER
                                                                                                       FEDERAL BUREAU OF
Sworn to me and signed telephonically.

Date: October ~ , 2020


                                                                                                      HONORABLE MICHAEL J. ROEMER
City and state: Buffalo, New York                                                                     UNITED STATES MAGISTRATE JUDGE
                                                                                                                         Pri,ued name and Titlr
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 2 of 52




                          AFFIDAVIT IN SUPPORT OF
                   AN APPLICATION FOR A SEARCH WARRANT


STATEOFNEWYORK )
COUNTY OF ERIE  )                  SS:
CITY OF BUFFALO                    )


       I, MICHAEL HOCKWATER, a Task Force Office with the Federal Bureau of

Investigation being duly sworn, deposes and states as follows:



                                    INTRODUCTION

       1.     I am a Police Detective with the Town of Cheektowaga, New York Police

Department. I have been a Police Officer since August of 1989. I am currently assigned as a

Task Force Officer with the Federal Bureau of Investigation (FBI), Buffalo Field Office, Cyber

Task Force, Innocent Images National Initiative, which targets individuals involved in the on

line sexual exploitation of children. I have been a Task Force Officer since June 14, 2010. As

part of these duties, I have become involved in the investigation of suspected violations of

Title 18, United States Code, Sections 2251, 2252, 2252A, 2422, and 2423. I have received

training in the area of child pornography and child exploitation, and have had the opportunity

to observe and review numerous examples of child pornography in various forms of media,

including computer media. Moreover, I was deputized as a federal law enforcement officer

who is authorized to investigate violations of criminal laws, including 18 U.S.C. §§ 2251,

2252, and 2252A.




                                              1
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 3 of 52




       2.     This Affidavit is submitted in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a search warrant for the locations specifically

described in Attachment A of this Affidavit, including the entire property located at 1010

Cleveland Drive, Cheektowaga, NY 14225 (the "SUBJECT PREMISES"), the content of

electronic storage devices located therein, and any person located at the SUBJECT

PREMISES, for contraband and evidence, fruits, and instrumentalities of violations of 18

U.S.C. § Section 2252A(a)(S)(B) and (b)(2) Possession of Child Pornography: which items are

more specifically described in Attachment B of this Affidavit.



       3.     The statements contained in this affidavit are based in part on information

provided by U.S. federal law enforcement agents; written reports about this and other

investigations that I have received, directly or indirectly, from other law enforcement agents,

including foreign law enforcement agencies, information gathered from the service of

administrative subpoenas; the results ofphysical and electronic surveillance conducted by law

enforcement agents; independent investigation and analysis by law enforcement

agents/analysts and computer forensic professionals; and my experience, training and

background as an FBI task Force Officer. Since this Affidavit is being submitted for the

limited purpose of securing a search warrant, I have not included each and every fact known

to me concerning this investigation. I have set forth only the facts that I believe are necessary

to establish probable cause to believe that contraband and evidence, fruits, and

instrumentalities of violations of 18 U.S.C. § 2252(a)(2) and (b)(l) (receipt or distribution of

a visual depiction of a minor engaged in sexually explicit conduct); 18 U.S.C. § 2252(a)(4)(B)
                                               2
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 4 of 52




and (b)(2) (possession of and access with intent to view a visual depiction of a minor engaged

in sexually explicit conduct); 18 U.S.C. § 2252A(a)(2)(A) and (b)(l) (receipt or distribution

of child pornography); and 18 U.S.C. § 2252A(a)(S)(B) and (b)(2) (possession of and access

with intent to view child pornography) are presently located at the SUBJECT PREMISES.



                               STATUTORY AUTHORITY

       4.      As noted above, this investigation concerns alleged violations of the following:

18 U.S.C. § 2252(a)(2) and (b)(l) (receipt or distribution of a visual depiction of a minor

engaged in sexually explicit conduct); 18 U.S.C. § 2252(a)(4)(B) and (b)(2) (possession of and

access with intent to view a visual depiction of a minor engaged in sexually explicit conduct);

18 U.S.C. § 2252A(a)(2)(A) and (b)(l) (receipt or distribution of child pornography); and 18

U.S.C. § 2252A(a)(S)(B) and (b)(2) (possession of and access with intent to view child

pornography)

       a.      18 U.S.C. § 2252(a)(2) and (b)(l) prohibit any person from lmowingly receiving

or distributing, or attempting or conspiring to receive or distribute, any visual depiction using

any means or facility of interstate or foreign commerce, or that has been mailed or shipped or

transported in or affecting interstate or foreign commerce, or which contains materials which

have been mailed or so shipped or transported, by any means including by computer, or

lmowingly reproducing any visual depiction for distribution using any means or facility of

interstate or foreign commerce, or in or affecting interstate or foreign commerce or through

the mails, if the production of such visual depiction involved the use ofa minor engaging in

sexually explicit conduct and such visual depiction is of such conduct.

                                               3
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 5 of 52




       b.      18 U.S.C. § 2252(a)(4)(B) and (b)(2) prohibit any person from knowingly

possessing or accessing with the intent to view, or attempting or conspiring to possess or

access with the intent to view, 1 or more books, magazines, periodicals, films, video tapes, or

other matter which contain any visual depiction that has been mailed, or has been shipped or

transported using any means or facility of interstate or foreign commerce or in or affecting

interstate or foreign commerce, or which was produced using materials which have been

mailed or so shipped or transported, by any means including by computer, if the production

of such visual depiction involved the use of a minor engaging in sexually explicit conduct and

such visual depiction is of such conduct.

       c.      18 U.S.C. § 2252A(a)(2)(A) and (b)(l) prohibit a person from knowingly

receiving or distributing, or attempting or conspiring to receive or distribute, any child

pornography or any material that contains child pornography, as defined in 18 U.S.C. §

2256(8), that has been mailed, or using any means or facility of interstate or foreign commerce

shipped or transported in or affecting interstate or foreign commerce by any means, including

by computer.

       d.      18 U.S.C. § 2252A(a)(5)(B) and (b)(2) prohibit a person from knowingly

possessing or knowingly accessing with intent to view, or attempting or conspiring to do so,

any material that contains an image of child pornography, as defined in 18 U.S.C. § 2256(8),

that has been mailed, or shipped or transported using any means or facility of interstate or

foreign commerce, or in or affecting interstate or foreign commerce, by any means, including

by computer, or that was produced using materials that have been mailed or shipped or



                                              4
      Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 6 of 52




transported in or affecting interstate or foreign commerce by any means, including by

computer.



                                      DEFINITIONS

       5.     The following terminology pertinent to this investigation is used with the

meanings defined below.

       a.     "Bulletin Board" means an Internet-based website that is either secured

(accessible with a password) or unsecured, and provides members with the ability to view

postings by other members and make postings themselves.            Postings can contain text

messages, still images, video images, or web addresses that direct other members to specific

content the poster wishes. Bulletin boards are also referred to as "internet forums" or

"message boards." A "post" or "posting" is a single message posted by a user. Users of a

bulletin board may post messages in reply to a post. A message "thread," often labeled a

"topic," refers to a linked series of posts and reply messages. Message threads or topics often

contain a title, which is generally selected by the user who posted the first message of the

tluead. Bulletin boards often also provide the ability for members to communicate on a one-

to-one basis through "private messages." Private messages are similar to e-mail messages that

are sent between two members of a bulletin board. They are accessible only by the users who

sent/received such a message, or by the bulletin board administrator.

        b.    "Chat," as used herein, refers to any kind of text communication over the

Internet that is transmitted in real-time from sender to receiver. Chat messages are generally

short in order to enable other participants to respond quickly and in a format that resembles
                                              5
      Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 7 of 52




an oral conversation.     This feature distinguishes chatting from other text-based online

communications such as Internet forums and email.

        c.     "Chat room," as used herein, refers to the ability of individuals to meet in one

location on the Internet in order to communicate electronically in real-time to other

individuals. Individuals may also have the ability to transmit electronic files to other

individuals within the chat room.

        d.     "Child erotica," as used herein, means materials or items that are sexually

arousing to persons having a sexual interest in minors but that are not necessarily obscene or

do not necessarily depict minors engaging in sexually explicit conduct.

        e.     "Child pornography," as defined in 18 U.S.C. § 2256(8), is any visual depiction,

including any photograph, film, video, picture, or computer or computer-generated image or

picture, whether made or produced by electronic, mechanical or other means, of sexually

explicit conduct, where (a) the production of the visual depiction involved the use ofa minor

engaged in sexually explicit conduct, (b) the visual depiction is a digital image, computer

image, or computer-generated image that is, or is indistinguishable from, that of a minor

engaged in sexually explicit conduct, or (c) the visual depiction has been created, adapted, or

modified to appear that an identifiable minor is engaged in sexually explicit conduct.

        f.    "Cloud storage," as used herein, is a form of digital data storage in which the

digital data is stored on remote servers hosted by a third party (as opposed to, for example,

on a user's computer or other local storage device) and is made available to users over a

network, typically the Internet.



                                              6
      Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 8 of 52




        g.    "Computer," as used herein, refers to "an electronic, magnetic, optical,

electrochemical, or other high speed data processing device performing logical or storage

functions, and includes any data storage facility or communications facility directly related to

or operating in conjunction with such device" and includes smartphones, other mobile

phones, and other mobile devices. See 18 U.S.C. § 1030(e)(l).

        h.    "Computer hardware," as used herein, consists of all equipment that can

receive, capture, collect, analyze, create, display, convert, store, conceal, or transmit

electronic, magnetic, or similar computer impulses or data. Computer hardware includes any

data-processing devices (including central processing units, internal and peripheral storage

devices such as fixed disks, external hard drives, "thumb," "jump," or "flash" drives, which

are small devices that are plugged into a port on the computer, and other memory storage

devices); peripheral input/output devices (including keyboards, printers, video display

monitors, and related communications devices such as cables and connections); as well as

any devices, mechanisms, or parts that can be used to restrict access to computer hardware

(including physical keys and locks).

        1.     "Computer passwords and data security devices," as used herein, consist of

information or items designed to restrict access to or hide computer software, documentation,

or data. Data security devices may consist of hardware, software, or other programming

code. A password (a string of alpha-numeric characters) usually operates what might be

termed a digital key to "unlock" particular data security devices. Data security hardware may

include encryption devices, chips, and circuit boards. Data security software may include

programming code that creates "test" keys or "hot" keys, which perform certain pre-set
                                               7
      Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 9 of 52




security functions when touched. Data security software or code may also encrypt, compress,

hide, or "booby-trap" protected data to make it inaccessible or unusable, as well as reverse

the process to restore it.

        j.     The "Domain Name System" or "DNS" is system that translates readable

Internet domain names such as www.justice.gov into the numerical IP addresses of the

computer server that hosts the website.

        k.     "Encryption" is the process of converting data into a code in order to prevent

unauthorized access to the data.

        I.     A "hidden service," also known as an '' onion service," is website or other web

service that is accessible only to users operating within the Tor anonymity network.

        m.     "Hyperlink" refers to an item on a web page which, when selected, transfers

the user directly to another location in a hypertext document or to some other web page.

        n.     The "Internet" is a global network of computers and other electronic devices

that communicate with each other. Due to the structure of the Internet, connections between

devices on the Internet often cross state and international borders, even when the devices

communicating with each other are in the same state.

        o.     "Internet Service Providers" ("ISPs"), as used herein, are commercial

organizations that are in business to provide individuals and businesses access to the Internet.

ISPs provide a range of functions for their customers including access to the Internet, web

hosting, email, remote storage, and co-location of computers and other communications

equipment.



                                               8
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 10 of 52




        p.     An "Internet Protocol address" or "IP address," as used herein, refers to a

unique numeric or alphanumeric string used by a computer or other digital device to access

the Internet. Every computer or device accessing the Internet must be assigned an IP address

so that Internet traffic sent from and directed to that computer or device may be directed

properly from its source to its destination. Most Internet Service Providers ("ISPs") control

a range of IP addresses. IP addresses can be "dynamic," meaning that the ISP assigns a

different unique number to a computer or device every time it accesses the Internet. IP

addresses might also be "static," if an ISP assigns a user's computer a particular IP address

that is used each time the computer accesses the Internet. ISPs typically maintain logs of the

subscribers to whom IP addresses are assigned on particular dates and times.

        q.     "Minor," as defined in 18 U.S.C. § 2256(1), refers to any person under the age

of eighteen years.

        r.     "Records," "documents," and "materials," as used herein, include all

information recorded in any form, visual or aural, and by any means, whether in handmade,

photographic, mechanical, electrical, electronic, or magnetic form.

        s.    "Remote computing service," as defined in 18 U .S.C. § 2711(2), is the provision

to the public of computer storage or processing services by means of an electronic

communications system.

        t.    "Sexually explicit conduct," as defined in 18 U.S.C. § 2256(2), means actual or

simulated (a) sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-

anal, whether between persons of the same or opposite sex; (b) bestiality; (c) masturbation;



                                               9
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 11 of 52




(d) sadistic or masochistic abuse; or (e) lascivious exhibition of the anus, genitals, or pubic

area of any person.

        u.    A "storage medium" is any physical object upon which computer data can be

recorded. Examples include hard disks, RAM, floppy disks, "thumb," "jump," or "flash"

drives, CD-ROMs, and other magnetic or optical media.

        v.    The "Tor network" is a computer network available to Internet users that is

designed specifically to facilitate anonymous communication over the Internet. The Tor

network attempts to do this by routing Tor user communications through a globally

distributed network of relay computers, along a randomly assigned path known as a "circuit."

        w.    "URL" is an abbreviation for Uniform Resource Locator and is another name

for a web address. URLs are made ofletters, numbers, and other symbols in a standard form.

People use them on computers by clicking a pre-prepared link or typing or copying and pasting

one into a web browser to make the computer fetch and show some specific resource (usually

a web page) from another computer (web server) on the Internet.

       x.     "Visual depiction," as defined in 18 U.S.C. § 2256(5), includes undeveloped

film and videotape, data stored on computer disc or other electronic means which is capable

of conversion into a visual image, and data which is capable of conversion into a visual image

that has been transmitted by any means, whether or not stored in a permanent format.

       y.     A "Website" consists of textual pages of information and associated graphic

images. The textual information is stored in a specific format known as Hyper-Text Mark-up

Language (HTML) and is transmitted from web servers to various web clients via Hyper-Text

Transport Protocol (HTTP).
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 12 of 52




       BACKGROUND OF THE INVESTIGATION AND PROBABLE CAUSE

       6.      A user of the Internet account at the SUBJECT PREMISES has been linked to

an online community of individuals who regularly send and receive child pornography via a

hidden service website that operated on the Tor anonymity network. The website is described

below and referred to herein as the "TARGET WEBSITE." 1 There is probable cause to

believe that a user of the Internet account at the SUBJECT PREMISES accessed the

TARGET WEBSITE, as further described herein.



                                       The Tor Network

       7.      The Internet is a global network of computers and other devices. Devices

directly connected to the Internet are uniquely identified by IP addresses, which are used to

route information between Internet-connected devices. Generally, when one device requests

information from a second device, the requesting device specifies its own IP address so that

the responding device knows where to send its response. On the Internet, data transferred

between devices is split into discrete packets, each of which has two parts: a header with non-

content routing and control information, such as the packet's source and destination IP

addresses; and a payload, which generally contains user data or the content of a

communication.




        The name of the TARGET WEBSITE is known to law enforcement. Investigation
into the users of the website remains ongoing and disclosure of the name of the website would
potentially alert active website users to the investigation, potentially provoking users to notify
other users oflaw enforcement action, flee, and/or destroy evidence.

                                               11
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 13 of 52




       8.     The website further described below operated on the Tor network, which is a

computer network available to Internet users that is designed specifically to facilitate

anonymous communication over the Internet. The Tor network attempts to do this by routing

Tor user communications through a globally distributed network of relay computers, along a

randomly assigned path known as a "circuit." Because of the way the Tor network routes

communications through the relay computers, traditional IP address-based identification

techniques are not effective.



       9.     To access the Tor network, a user must install Tor software. That is most easily

done by downloading the free "Tor browser" from the Tor Project, the private entity that

maintains the Tor network, via their website at www.torproject.org. 2 The Tor browser is a

web browser that is configured to route a user's Internet traffic through the Tor network.



       10.    As with other Internet communications, a Tor user's communications are split

into packets containing header information and a payload, and are routed using IP addresses.

In order for a Tor user's communications to be routed through the Tor network, a Tor user

necessarily (and voluntarily) shares the user's IP address with Tor network relay computers,

which are called "nodes." This routing information is stored in the header portion of the

packet. As the packets travel through the Tor network, each node is able to see the address

information of the previous node the communication came from and the next node the

2
 Tor users may also choose to manually configure a web browser or other application to route
communications through the Tor network.

                                             12
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 14 of 52




information should be sent to. Those Tor nodes are operated by volunteers - individuals or

entities who have donated computers or computing power to the Tor network in order for it

to operate.



       11.    Tor may be used to access open-Internet websites like www.justice.gov.

Because a Tor user's communications are routed through multiple nodes before reaching their

destination, when a Tor user accesses such an Internet website, only the IP address of the last

relay computer (the "exit node"), as opposed to the Tor user's actual IP address, appears on

that website's IP address log. In addition, the content of a Tor user's communications are

encrypted while the communication passes through the Tor network. That can prevent the

operator of a Tor node from observing the content (but not the routing information) of other

Tor users' communications.



       12.    The Tor Project maintains a publicly available frequently asked questions

(FAQ) page, accessible from its website, with information about the Tor network. Within

those FAQ, the Tor Project advises Tor users that the first Tor relay to which a user connects

can see the Tor user's actual IP address. In addition, the FAQ also cautions Tor users that

the use of the Tor network does not render a user's communications totally anonymous. For

example, in the Tor Project's FAQ, the question "So I'm totally anonymous ifl use Tor?" is

asked, to which the response is, in bold text, "No."




                                             13
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 15 of 52




       13.    The Tor Network also makes it possible for users to operate or access websites

that are accessible only to users operating within the Tor network. Such websites are called

"hidden services" or "onion services." They operate in a manner that attempts to conceal the

true IP address of the computer hosting the website. Like other websites, hidden services are

hosted on computer servers that communicate through IP addresses. However, hidden

services have unique technical features that attempt to conceal the computer server's location.



       14.    Unlike standard Internet websites, a Tor-based web address is comprised of a

series of either 16 or 56 algorithm-generated characters, for example "asdlk8fs9dflku7f,"

followed by the suffix ".onion." Ordinarily, investigators can determine the IP address of the

computer server hosting a website (such as www.justice.gov) by simply looking it up on a

publicly available Domain Name System ("DNS") listing. Unlike ordinary Internet websites,

however, there is no publicly available DNS listing through which one can query the IP

address of a computer server that hosts a Tor hidden service. So, while law enforcement

agents can often view and access hidden services that are facilitating illegal activity, they

cannot determine the IP address of a Tor hidden service computer server via public lookups.

Additionally, as with all Tor communications, communications between users' computers

and a Tor hidden service webserver are routed through a series of intermediary computers.

Accordingly, neither law enforcement nor hidden-service users can use public lookups or

ordinary investigative means to determine the true IP address - and therefore the location -

of a computer server that hosts a hidden service.



                                              14
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 16 of 52




                            Description of TARGET WEBSITE

       15.    The "TARGET WEBSITE" was a child pornography bulletin board and

website dedicated to the advertisement and distribution of child pornography and the

discussion of matters pertinent to the sexual abuse of children that operated from

approximately October 2016 to June 2019. In June of 2019, the computer server hosting the

TARGET WEBSITE, which was located outside of the United States, was seized by a foreigu

law enforcement agency.



       16.    While it operated, the website administrator posted a message on the website

describing its purpose as being to "share cp of babies and toddlers." The term "cp" in this

context refers to child pornography. The name of the TARGET WEBSITE contained a

reference to children of that age and the website logo included images depicting babies and

toddlers. The TARGET WEBSITE name itself is a reference to the genitalia of prepubescent

boys. The TARGET WEBSITE allowed users to make and view postings that contained text,

still images, video images, and/ or web links that directed members to specific content located

on another website. The TARGET WEBSITE also had a private message feature that

allowed users to send private messages to each other.



       17.    The TARGET WEBSITE also had a separate, selective membership section

that provided such members with exclusive child pornographic content. To join that selective

membership, members were required to upload nude or sexually explicit images depicting

babies and toddlers. As of June 2019, the website had over 230,000 members and over 29,000
                                             15
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 17 of 52




postings. While it operated, FBI Special Agents accessed the TARGET WEBSITE and

downloaded digital child pornography content accessible via the website, in an undercover

capacity.



       18.       Upon accessing the TARGET WEBSITE, the initial web page revealed a

message board including links a user would access to register and log-in, as well as

hyperlinked message board headings titled, "Announcements," "Rules," "Allowed Hosts,"

''How to post," "Security," and "Apply for VIP." Upon accessing the "Apply for VIP"

hyperlink on the TARGET WEBSITE, users would observe the following text:

       Forum Rules, Application for VIP:

       - Only child porn (nude or sex) pies or videos of babies and toddler

       - All archives must be encrypted in Rar or 7Zip format

       -The archive passwords must contain your nickname and [TARGET WEBSITE

       name]

       - Don't forget provide a live preview

       - Only use safe hosts without javascript

       - No need to apply with private stuff. Random CP of 0-Syo is accepted (boys and

       girls).



       19.       Based upon my training an experience, I am aware that "Rar" and "7Zip" refer

to archive files, which are a method of storing multiple digital files (image or videos for

example) in a single, compressed file, which may be password-protected; that a "live preview"
                                               16
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 18 of 52




consists of a representative sub-set of a set of still images or still shots from a video, which

give a user a preview of the full image set or video available for download; and a "safe host"

refers to a file hosting provider on whose servers password-protected digital files may be

stored, which is perceived by users of the website to not be compliant with law enforcement

requests for information.



       20.    Upon accessing the "Register" link of the TARGET WEBSITE, users

completed a "Username," and "Password," field, as well as a "Confirmation" code to enter

the website. Located at the bottom of the web page are two additional sections entitled "The

Team" and "Delete All board cookies." "The Team" section listed the usernames of three

website "Administrators."



       21.    After successfully registering, a user was taken to a web page stating that an

account has been created and the user may login with username and password. A user was

then able to access the "Board Index." Sections for posting to the website within the Board

Index included: "CP Stars," with forums "Boys" and "Girls;" "Babies (0-IYO)," with

forums "Baby Boys" and "Baby Girls;" and "Toddlers (2-SYO)," with forums "Toddler

Boys" and "Toddler Girls."



       22.     Upon accessing a user posting on the website, the original post appeared at the

top of the page, with any corresponding replies to the original post included in the thread

below it. Typical posts contained text, images, links to external sites, or replies to previous
                                               17
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 19 of 52




posts. A review of postings within these sections revealed numerous posts containing images

depicting child pornography and child erotica of prepubescent males, females, toddlers, and

infants. Examples of these are as follows:

       a.     On May 14, 2017, a website administrator posted a topic entitled "We are

back" in the "Announcements" forum that contained the following statement: "Only CP

contributors will have access now to the stuff. If you are not VIP, make your application for

member ... " The post contained an image depicting a prepubescent male, who appeared naked

below the waist exposing his genitals, and featured a green post it note reading, "May-13-

2017" along with what appeared to be the usemame of another website administrator. Among

other things, the image focused on the exposed penis of the prepubescent male. Based upon

my training and experience, the significance of this posting was to effectively make

membership available only to those users who uploaded child pornography to the website.

       b.     On May 23, 2017, a website administrator posted a message entitled "Inactive"

in the "Announcements" forum that contained the following: "Abandoned accounts was

automated deactivated. VIP accounts will be also automated deactivated after 2 months, if

they not make any contribution." Based on my training and experience, a "contribution"

means a posting to the website, generally one that contains or provides a link to child

pornography images/videos. Below the text of the post, a photo of a prepubescent female

child with her legs spread, focusing on her vagina, was displayed. In the top left of the photo

were textual graphics that included what appeared to be usemames of website users and

administrators as well as the term "lyo," and a tom green post-it note that read, "[TARGET



                                              18
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 20 of 52




WEBSITE name]," contained the web address for TARGET WEBSITE, and the text

"Exclusive 0-Syo NEW 2017."

       c.     On June 30, 2017, a review of the website revealed a post from a website

member titled "Toddler Fuck" in the "Toddlers (2-Syo)" forum. The post contained an image

depicting a prepubescent male toddler, appearing naked and exposing his genitals, on his back

while an adult male penis entered his anus. The image focused on the exposed adult male

penis penetrating the toddler.



        Evidence Related to Identification of Target that Accessed TARGET WEBSITE

       23.    I am aware that U.S. as well as foreign law enforcement agencies investigate

anonymous offenders engaging in online child sexual exploitation via Tor hidden service

websites such as the website(s) described herein. Those websites are globally accessible. The

websites and their users may therefore be located anywhere in the world. Due to the

anonymity provided by the Tor network, it can be difficult or impossible to determine, at the

beginning of an investigation, where in the world a particular website or user is located.

Accordingly, when a law enforcement agency obtains evidence that such a website or website

user may be located in another country, it is common practice for that law enforcement

agency to share information with a law enforcement agency in the country where the website

is located or the offender appears to reside, in accordance with each country's laws.



       24.     In August 2019, a foreign law enforcement agency (referenced herein as

"FLA") known to the FBI and with a history of providing reliable, accurate information in
                                             19
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 21 of 52




the past, notified the FBI that FLA determined that on May 28, 2019, IP address 74.77.4.235

"was used to access online child sexual abuse and exploitation material" via a website that

the FLA named and described as the TARGET WEBSITE.



       25.    FLA described the website as having "an explicit focus on the facilitation of

sharing child abuse material (images, links and videos), emphasis on babies and toddlers (ages

0-5 years old)," stated that "[u]sers were required to create an account (username and

password) in order to access the majority of the site and hosted material," and provided

further documentation naming the site as the TARGET WEBSITE, which the FLA referred

to by its actual name.



       26.    FLA is a national law enforcement agency of a country with an established rule

of law. There is a long history of U.S. law enforcement sharing criminal investigative

information with FLA and FLA sharing criminal investigative information with U.S. law

enforcement, across disciplines and including the investigation of crimes against children.

FLA advised U.S. law enforcement that it obtained that information through independent

investigation that was lawfully authorized in FLA's country pursuant to its national laws.

FLA further advised U.S. law enforcement that FLA had not interfered with, accessed,

searched or seized any data from any computer in the United States in order to obtain that IP

address information. U.S. law enforcement personnel did not participate in the investigative

work through which FLA identified the IP address information provided by FLA.



                                             20
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 22 of 52




       27.    I am aware through my training and experience and consultation with other

U.S. law enforcement agents that tips provided by FLA regarding IP addresses that FLA

advised were associated with access to Tor network child exploitation-related web and chat

sites have: (I) led to the identification and arrest of a U.S.-based child pornography producer

and hands-on offender, and the identification and rescue of multiple U.S. children subject to

that offender's ongoing abuse; (2) led to the seizure of evidence of child pornography

trafficking and possession; and (3) been determined through further investigation to be related

to targets that U.S. law enforcement investigation had independently determined were

associated with child pornography trafficking and possession.



       28.    As described herein, the TARGET WEBSITE could not generally be accessed

through the traditional internet. Only a user who had installed the appropriate Tor software

on the user's computer could access the "TARGET WEBSITE." Even after connecting to

the Tor network, however, a user would have to find the 16-or-56-character web address of

the TARGET WEBSITE in order to access it. Hidden service websites on the Tor Network

are not "indexed" by search engines-such as Google-to anywhere near the same degree as

websites that operate on the open Internet. Accordingly, it is much more difficult to perform

a Google-type search of hidden service websites than it is to search open Internet websites for

particular content of interest. Users interested in accessing child exploitation material (or in

advertising child exploitation and pornography websites they operate) therefore keep,

maintain and use directory sites that advertise the web addresses of hidden services that

contain child exploitation related content. Those directory sites also operate via the Tor
                                              21
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 23 of 52




network. Users utilize those directory sites to identify new web forums, chat sites, image

galleries and file hosts pertaining to the sexual exploitation of children. Such directory sites

often identify whether particular sites are then operating, whether child pornography imagery

may be found there, and even what types of child pornography are accessible (i.e., boys, girls,

or "hurtcore"). They also contain clickable hyperlinks to access those sites. As with other

hidden service websites, a user must find the 16-or-56 character web address for a directory

website in order to access it. While it operated, the web address for the website described

herein was listed on one or more of such directory sites advertising hidden services dedicated

to the sexual exploitation of children.



       29.    I am also aware through consultation with FBI agents that the review of

detailed user data related to one Tor network based child pornography website found that it

was exceedingly rare for a registered website user to access that website and never return. FBI

review of user data from that website found that less than two hundredths of one percent of

user accounts registered an account on the website, accessed a message thread on the website,

and then never returned to the website and logged in to the same account.



       30.    Accordingly, based on my training and experience and the information

articulated herein, because accessing the TARGET WEBSITE required numerous affirmative

steps by the user - to include downloading Tor software, accessing the Tor network, finding

the web address for TARGET WEBSITE, and then connecting to TARGET WEBSITE via



                                              22
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 24 of 52




Tor - it is extremely unlikely that any user could simply stumble upon TARGET WEBSITE

without understanding its purpose and content.



       31.    Accordingly, I submit that there is probable cause to believe that, for all of the

reasons described herein, any user who accessed the TARGET WEBSITE has, at a minimum,

knowingly accessed the TARGET WEBSITE with intent to view child pornography, or

attempted to do so.



                         Identification of SUBJECT PREMISES

       32.    According to publicly available information, IP address 74.77.4.235 which was

used to access TARGET WEBSITE on May 28, 2019 was registered to Charter

Communications.



       33.    On November 20, 2019, a subpoena/summons was issued to Charter

Communications in regard to the pertinent IP address. A review of the results obtained on

June 18, 2020 identified the following account holder and address, which is the address of the

SUBJECT PREMISES: John Stuart, 1010 Cleveland Drive, Cheektowaga, NY 14225,

telephone (716) 870-1014, email addressjohnms88@gmail.com.



       34.    A search of a public records database that provides names, dates of birth,

addresses, associates, telephone numbers, email addresses, and other information was

conducted for John Stuart. These public records indicated that John Stuart's current address
                                             23
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 25 of 52




is 1010 Cleveland Drive, Cheektowaga, NY 14225. A check with the Department of Motor

Vehicles on or about July 14, 2020, revealed that an individual named John Stuart with a date

of birth of 6/01/1988 resides at the SUBJECT PREMISES.



       35.    On or about July 24, 2020 I conducted Surveillance of the SUBJECT

PREMISES and observed a male matching the description of John Stuart exited a vehicle

parked in the driveway and enter the rear door of the residence. The vehicle registered to John

Stuart was observed parked in the driveway of the SUBJECT PREMISES on occasions

between July 24, 2020 and July 29, 2020.



       36.    On or about July 24, 2020, I also conducted a check of the wireless networks

in the immediate area of the SUBJECT PREMISES. There were multiple wireless networks

observed in the area but all of them were secured.



       37.    A check of open source information from the Internet regarding John Stuart

revealed that he is a paramedic with a private ambulance service in western New York.



                          Pen Register and Trap and Trace on
                 Residential Internet Service for SUBJECT PREMISES

       38.    On August 18, 2020, the United States Magistrate Judge Jeremiah J. McCarthy

authorized the installation and use of a pen register/trap and trace device (PRTT) to record,

decode and/ or capture all dialing, routing addressing and signaling information associated

                                             24
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 26 of 52




with each communication to or from the residential internet service account associated with

the SUBJECT PREMISES provided by Charter Communications (20-MR-257). Based on

my training and experience, I am aware that analysis of data obtained via a PRTT on a target's

residential internet connection can provide evidence that a user of the internet at the premises

is accessing the Tor network. That is possible because the IP addresses of Tor node computers

that make up the network are published by the Tor network. Since a residential internet PRTT

will disclose the IP addresses of computers and electronic devices to which communications

are sent and from which communications are received, analysis of the PRTT data can reveal

Tor use. Due to Tor routing and encryption, a PRTT will not reveal the ultimate destination

or the content of those communications. Charter Communications began to provide data

pursuant to the Court's order on August 20, 2020. Analysis through October 6, 2020 of the

data provided pursuant to that PRTT order revealed evidence that a user of the internet at the

SUBJECT PREMISES accessed the Tor network on fourteen separate days since the start of

the data being provided; on August 23, August 29, September 5, September 6, September 11,

September 13, September 14, September 18, September 19, September 25, September 30,

October 2, October 5 and October 6, 2020.



       39.    Based on my training and experience, although the TARGET WEBSITE is no

longer in service, the fact that an internet user at the SUBJECT PREMISES continue to access

the Tor network means that it is likely the user is continuing to use the Tor network for child

exploitation purposes. While I know that the Tor network contains sites other than those

involving child pornography, I know based on my training and experience that the Tor

                                             25
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 27 of 52




network contains many sites dedicated to child pornography and child exploitation, just like

the TARGET WEBSITE, and individuals that seek out child pornography will continue to

do so even if a website they have utilized in the past is no longer in service.



                    BACKGROUND ON CHIT.,D PORNOGRAPHY,
                       COMPUTERS, AND THE INTERNET

       40.     I have had both training and experience in the investigation of computer-related

crimes. Based on my training, experience, and knowledge, I know the following:

       a.      Computers and digital technology are the primary way in which individuals

interested in child pornography interact with each other. Computers basically serve four

functions in connection with child pornography: production, communication, distribution,

and storage.

       b.      Digital cameras and smartphones with cameras save photographs or videos as

a digital file that can be directly transferred to a computer by connecting the camera or

smartphone to the computer, using a cable or via wireless connections such as "WiFi" or

"Bluetooth." Photos and videos taken on a digital camera or smartphone may be stored on

a removable memory card in the camera or smartphone. These memory cards are often large

enough to store thousands of high-resolution photographs or videos.

       c.      A device known as a modem allows any computer to connect to another

computer through the use of telephone, cable, or wireless connection. Mobile devices such

as smartphones and tablet computers may also connect to other computers via wireless

connections. Electronic contact can be made to literally millions of computers around the

                                               26
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 28 of 52




world. Child pornography can therefore be easily, inexpensively and anonymously (through

electronic communications) produced, distributed, and received by anyone with access to a

computer or smartphone.

       d.     The computer's ability to store images in digital form makes the computer itself

an ideal repository for child pornography. Electronic storage media of various types - to

include computer hard drives, external hard drives, CDs, DVDs, and "thumb," "jump," or

"flash" drives, which are very small devices that are plugged into a port on the computer - can

store thousands of images or videos at very high resolution. It is extremely easy for an

individual to take a photo or a video with a digital camera or camera-bearing smartphone,

upload that photo or video to a computer, and then copy it (or any other files on the computer)

to any one of those media storage devices.           Some media storage devices can easily be

concealed and carried on an individual's person. Smartphones and/ or mobile phones are

also often carried on an individual's person.

       e.     The Internet affords individuals several different venues for obtaining, viewing,

and trading child pornography in a relatively secure and anonymous fashion.

       f.     Individuals also use online resources to retrieve and store child pornography.

Some online services allow a user to set up an account with a remote computing service that

may provide email services and/ or electronic storage of computer files in any variety of

formats. A user can set up an online storage account (sometimes referred to as "cloud"

storage) from any computer or smartphone with access to the Internet. Even in cases where

online storage is used, however, evidence of child pornography can be found on the user's

computer, smartphone, or external media in most cases.

                                                27
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 29 of 52




       g.     A growing phenomenon related to smartphones and other mobile computing

devices is the use of mobile applications, also referred to as "apps." Apps consist of software

downloaded onto mobile devices that enable users to perform a variety of tasks - such as

engaging in online chat, sharing digital files, reading a book, or playing a game - on a mobile

device. Individuals commonly use such apps to receive, store, distribute, and advertise child

pornography, to interact directly with other like-minded offenders or with potential minor

victims, and to access cloud-storage services where child pornography may be stored.

       h.     As is the case with most digital technology, communications by way of

computer can be saved or stored on the computer used for these purposes. Storing this

information can be intentional (i.e., by saving an email as a file on the computer or saving the

location of one's favorite websites in, for example, "bookmarked" files) or unintentional.

Digital information, such as the traces of the path of an electronic communication, may also

be automatically stored in many places (e.g., temporary files or ISP client software, among

others). In addition to electronic communications, a computer user's Internet activities

generally leave traces or "footprints" in the web cache and history files of the browser used.

Such information is often maintained indefinitely until overwritten by other data.


       41.    Based on my previous investigative experience related to child exploitation

investigations, and the training and experience of other law enforcement officers with whom

I have had discussions, I know there are certain characteristics common to individuals who

access online child sexual abuse and exploitation material via a website:

       a.     Such individuals may receive sexual gratification, stimulation, and satisfaction

                                              28
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 30 of 52




from contact with children, or from fantasies they may have viewing children engaged in

sexual activity or in sexually suggestive poses, such as in person, in photographs, or other

visual media, or from literature describing such activity.

       b.      Such individuals may collect sexually explicit or suggestive materials in a

variety of media, including photographs, magazines, motion pictures, videotapes, books,

slides and/ or drawings or other visual media. Individuals who have a sexual interest in

children or images of children oftentimes use these materials for their own sexual arousal and

gratification. Further, they may use these materials to lower the inhibitions of children they

are attempting to seduce, to arouse the selected child partner, or to demonstrate the desired

sexual acts.

       c.      Such individuals almost always possess and maintain child pornographic

material in the privacy and security of their home or some other secure location. Individuals

who have a sexual interest in children or images of children typically retain those materials

and child erotica for many years.

       d.      Likewise, such individuals often maintain their child pornography images in a

digital or electronic format in a safe, secure and private environment, such as a computer and

surrounding area. These child pornography images are often maintained for several years

and are kept close by, usually at the possessor's residence, inside the possessor's vehicle, or,

at times, on their person, or in cloud-based online storage, to enable the individual to view

the child pornography images, which are valued highly. Some of these individuals also have

been found to download, view, and then delete child pornography on their computers or

digital devices on a cyclical and repetitive basis.

                                                29
      Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 31 of 52




        e.     Importantly, evidence of such activity, including deleted child pornography,

often can be located on these individuals' computers and digital devices through the use of

forensic tools. Indeed, the very nature of electronic storage means that evidence of the crime

is often still discoverable for extended periods of time even after the individual "deleted" it. 3

        f.     Such individuals also may correspond with and/ or meet others to share

information and materials, rarely destroy correspondence from other child pornography

distributors/possessors, conceal such correspondence as they do their sexually explicit

material, and often maintain contact information (e.g. online messaging accounts, email

addresses, etc.) of individuals with whom they have been in contact and who share the same

interests in child pornography.

       g.      Such individuals prefer not to be without their child pornography for any

prolonged time period. This behavior has been documented by law enforcement officers

involved in the investigation of child pornography throughout the world.

       h.      Even if the target uses a portable device (such as a mobile phone) to access the

Internet and child pornography, it is more likely than not that evidence of this access will be

found in his home, the SUBJECT PREMISES, as set forth in Attachment A, including on

digital devices other than the portable device (for reasons including the frequency of "backing

up" or "synching" mobile phones to computers or other digital devices).


3
  See United States v. Carroll, 750 F.3d 700, 706 (7th Cir. 2014) (concluding that 5-year delay
was not too long because "staleness inquiry must be grounded in an understanding of both
the behavior of child pornography collectors and of modem technology"); see also United States
v. Seiver, 692 F.3d 774 (7th Cir. 2012) (Posner, J.) (collectiog cases, e.g., United States v. Allen,
625 F.3d 830, 843 (5th Cir. 2010); United States v. Richardson, 607 F.3d 357, 370-71 (4th Cir.
2010); United States v. Lewis, 605 F.3d 395, 402 (6th Cir. 2010)).

                                                30
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 32 of 52




       42.    Based on all of the information contained herein, I believe that an internet user

residing at the SUBJECT PREMISES likely displays characteristics common to individuals

who access online child sexual abuse and exploitation material via a website. In particular,

the target of investigation obtained and used Tor network software, found the web address

for TARGET WEBSITE, and accessed online child sexual abuse and exploitation material

via the TARGET WEBSITE.



        SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

       43.    As described above and in Attachment B, this application seeks permission to

search for records that might be found on the SUBJECT PREMISES, in whatever form they

are found. One form in which the records are likely to be found is data stored on a computer's

hard drive or other storage media. Thus, the warrant applied for would authorize the seizure

of electronic storage media or, potentially, the copying of electronically stored information,

all under Rule 4l(e)(2)(B).



       44.    I submit that if a computer or storage medium is found on the SUBJECT

PREMISES, there is probable cause to believe those records referenced above will be stored

on that computer or storage medium, for at least the following reasons:

       a.     Deleted files, or remnants of deleted files, may reside in free space or slack

space-that is, in space on the storage medium that is not currently being used by an active



                                             31
      Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 33 of 52




file-for long periods of time before they are overwritten. In addition, a computer's operating

system may also keep a record of deleted data in a "swap" or "recovery" file.

       b.      Based on my knowledge, training, and experience, I know that computer files

or remnants of such files can be recovered months or even years after they have been

downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic files

downloaded to a storage medium can be stored for years at little or no cost. Even when files

have been deleted, they can be recovered months or years later using forensic tools. This is

so because when a person "deletes" a file on a computer, the data contained in the file does

not actually disappear; rather, that data remains on the storage medium until it is overwritten

by new data.

       c.      Wholly apart from user-generated files, computer storage media-in particular,

computers' internal hard drives-contain electronic evidence of how a computer has been

used, what it has been used for, and who has used it. To give a few examples, this forensic

evidence can take the form of operating system configurations, artifacts from operating system

or application operation, file system data structures, and virtual memory "swap" or paging

files. Computer users typically do not erase or delete this evidence, because special software

is typically required for that task. However, it is technically possible to delete this information.

       d.      Similarly, files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary Internet directory or "cache."



       45.     As further described in Attachment B, this application seeks permission to

locate not only computer files that might serve as direct evidence of the crimes described on
                                                32
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 34 of 52




the warrant, but also for forensic electronic evidence that establishes how computers were

used, the purpose of their use, who used them, and when. There is probable cause to believe

that this forensic electronic evidence will be on any storage medium in the SUBJECT

PREMISES because:

       a.     Data on the storage medium can provide evidence of a file that was once on

the storage medium but has since been deleted or edited, or of a deleted portion of a file (such

as a paragraph that has been deleted from a word processing file). Virtual memory paging

systems can leave traces of information on the storage medium that show what tasks and

processes were recently active. Web browsers, email programs, and chat programs store

configuration information on the storage medium that can reveal information such as online

nicknames and passwords. Operating systems can record additional information, such as the

attachment of peripherals, the attachment of USB flash storage devices or other external

storage media, and the times the computer was in use. Computer file systems can record

information about the dates files were created and the sequence in which they were created,

although this information can later be falsified.

       b.     Information stored within a computer and other electronic storage media may

provide crucial evidence of the "who, what, why, when, where, and how" of the criminal

conduct under investigation, thus enabling the United States to establish and prove each

element or alternatively, to exclude the innocent from further suspicion. In my training and

experience, information stored within a computer or storage media (e.g., registry information,

communications, images and movies, transactional information, records of session times and

durations, Internet history, and anti-virus, spyware, and malware detection programs) can
                                               33
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 35 of 52




indicate who has used or controlled the computer or storage media. This "user attribution"

evidence is analogous to the search for "indicia of occupancy" while executing a search

warrant at a residence. The existence or absence of anti-virus, spyware, and malware

detection programs may indicate whether the computer was remotely accessed, thus

inculpating or exculpating the computer owner. Further, computer and storage media activity

can indicate how and when the computer or storage media was accessed or used. For

example, computers typically contain information that logs: computer user account session

times and durations, computer activity associated with user accounts, electronic storage

media that connected with the computer, and the IP addresses through which the computer

accessed networks and the Internet. Such information allows investigators to understand the

chronological context of computer or electronic storage media access, use, and events relating

to the crime under investigation. Additionally, some information stored within a computer

or electronic storage media may provide crucial evidence relating to the physical location of

other evidence and the suspect. For example, images stored on a computer may both show a

particular location and have geolocation information incorporated into its file data. Such file

data typically also contains information indicating when the file or image was created. The

existence of such image files, along with external device connection logs, may also indicate

the presence of additional electronic storage media (e.g., a digital camera or cellular phone

with an incorporated camera). The geographic and timeline information described herein

may either inculpate or exculpate the computer user. Last, information stored within a

computer may provide relevant insight into the computer user's state of mind as it relates to

the offense under investigation. For example, information within the computer may indicate
                                             34
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 36 of 52




the owner's motive and intent to commit a crime (e.g., Internet searches indicating criminal

planning), or consciousness of guilt (e.g., running a "wiping" program to destroy evidence on

the computer or password protecting/ encrypting such evidence in an effort to conceal it from

law enforcement).

       c.        A person with appropriate familiarity with how a computer works can, after

examining this forensic evidence in its proper context, draw conclusions about how

computers were used, the puipose of their use, who used them, and when.

       d.        The process of identifying the exact files, blocks, registry entries, logs, or other

forms of forensic evidence on a storage medium that are necessary to draw an accurate

conclusion is a dynamic process. While it is possible to specify in advance the records to be

sought, computer evidence is not always data that can be merely reviewed by a review team

and passed along to investigators. Whether data stored on a computer is evidence may

depend on other information stored on the computer and the application of knowledge about

how a computer behaves. Therefore, contextual information necessary to understand other

evidence also falls within the scope of the warrant.

       e.        Further, in finding evidence of how a computer was used, the puipose of its

use, who used it, and when, sometimes it is necessary to establish that a particular thing is not

present on a storage medium. For example, the presence or absence of counter-forensic

programs or anti-virus programs (and associated data) may be relevant to establishing the

user's intent.

       f.        I know that when an individual uses a computer to obtain or access child

pornography, the individual's computer will generally serve both as an instrumentality for
                                                  35
      Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 37 of 52




committing the crime, and also as a storage medium for evidence of the crime. The computer

is an instrumentality of the crime because it is used as a means of committing the criminal

offense. The computer is also likely to be a storage medium for evidence of crime. From my

training and experience, I believe that a computer used to commit a crime of this type may

contain: data that is evidence of how the computer was used; data that was sent or received;

notes as to how the criminal conduct was achieved; records oflnternet discussions about the

crime; and other records that indicate the nature of the offense.

       46.    Based upon my training and experience and information relayed to me by

agents and others involved in the forensic examination of computers, I know that computer

data can be stored on a variety of systems and storage devices, including external and internal

hard drives, flash drives, thumb drives, micro SD cards, macro SD cards, DVDs, gaming

systems, SIM cards, cellular phones capable of storage, floppy disks, compact disks, magnetic

tapes, memory cards, memory chips, and online or offsite storage servers maintained by

corporations, including but not limited to "cloud" storage. I also know that during the search

of the premises it is not always possible to search computer equipment and storage devices

for data for a number of reasons, including the following:

       a.     Searching computer systems is a highly technical process that requires specific

expertise and specialized equipment. There are so many types of computer hardware and

software in use today that it is impossible to bring to the search website all of the technical

manuals and specialized equipment necessary to conduct a thorough search. In addition, it

may also be necessary to consult with computer personnel who have specific expertise in the

type of computer, software, or operating system that is being searched;
                                              36
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 38 of 52




       b.     Searching computer systems requires the use of precise, scientific procedures

which are designed to maintain the integrity of the evidence and to recover "hidden," erased,

compressed, encrypted, or password-protected data. Computer hardware and storage devices

may contain "booby traps" that destroy or alter data if certain procedures are not scrupulously

followed.   Since computer data is particularly vulnerable to inadvertent or intentional

modification or destruction, a controlled environment, such as a law enforcement laboratory,

is essential to conducting a complete and accurate analysis of the equipment and storage

devices from which the data will be extracted;

       c.     The volume of data stored on many computer systems and storage devices will

typically be so large that it will be highly impractical to search for data during the execution

of the physical search of the premises; and

       d.     Computer users can attempt to conceal data within computer equipment and

storage devices through a number of methods, including the use of innocuous or misleading

filenames and extensions. For example, files with the extension ".jpg" often are image files;

however, a user can easily change the extension to ".txt" to conceal the image and make it

appear that the file contains text. Computer users can also attempt to conceal data by using

encryption, which means that a password or device, such as a "dongle" or "keycard," is

necessary to decrypt the data into readable form. In addition, computer users can conceal

data within another seemingly unrelated and innocuous file in a process called

"steganography." For example, by using steganography a computer user can conceal text in

an image file which cannot be viewed when the image file is opened. Therefore, a substantial



                                              37
      Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 39 of 52




amount of time is necessary to extract and sort through data that is concealed or encrypted to

determine whether it is contraband, evidence, fruits, or instrumentalities of a crime.



       47.    Additionally, based upon my training and experience and information relayed

to me by agents and others involved in the forensic examination of computers, I know that

routers, modems, and network equipment used to connect computers to the Internet often

provide valuable evidence of, and are instrumentalities of, a crime. This is equally true of

wireless routers, which create localized networks that allow individuals to connect to the

Internet wirelessly. Though wireless networks may be secured (in that they require an

individual to enter an alphanumeric key or password before gaining access to the network) or

unsecured (in that an individual may access the wireless network without a key or password),

wireless routers for both secured and unsecured wireless networks may yield significant

evidence of, or serve as instrumentalities of, a crime-including, for example, serving as the

instrument through which the perpetrator of the Internet-based crime connected to the

Internet and, potentially, containing logging information regarding the time and date of a

perpetrator's network activity as well as identifying information for the specific device(s) the

perpetrator used to access the network. Moreover, I know that individuals who have set up

either a secured or unsecured wireless network in their residence are often among the primary

users of that wireless network.



       48.    Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I am

applying for would permit seizing, rmagmg, or otherwise copying storage media that
                                              38
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 40 of 52




reasonably appear to contain some or all of the evidence described in the warrant, and would

authorize a later review of the media or information consistent with the warrant. The later

review may require techniques, including but not limited to computer-assisted scans of the

entire medium, that might expose many parts of a hard drive to human inspection in order to

determine whether it is evidence described by the warrant.



                           BIOMETRIC ACCESS TO DEVICES

       49.     This warrant permits law enforcement to compel John Stuart and any other

individual present at the time of the execution of the search warrant to unlock any DEVICES

requiring biometric access subject to seizure pursuant to this warrant. The grounds for this

request are as follows:

       a.      I know from my training and experience, as well as from information found in

publicly available materials published by device manufacturers, that many electronic devices,

particularly newer mobile devices and laptops, offer their users the ability to unlock the device

through biometric features in lieu of a numeric or alphanumeric passcode or password. These

biometric features include fingerprint scanners, facial recognition features and iris recognition

features. Some devices offer a combination of these biometric features, and the user of such

devices can select which features they would like to utilize.

       b.     If a device is equipped with a fingerprint scanner, a user may enable the ability

to unlock the device through his or her fingerprints. For example, Apple offers a feature called

"Touch ID," which allows a user to register up to five fingerprints that can unlock a device.

Once a fingerprint is registered, a user can unlock the device by pressing the relevant finger to
                                              39
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 41 of 52




the device's Touch ID sensor, which is found in the round button (often referred to as the

"home" button) located at the bottom center of the front of the device. The fingerprint sensors

found on devices produced by other manufacturers have different names but operate similarly

to Touch ID.

       c.      If a device is equipped with a facial-recognition feature, a user may enable the

ability to unlock the device through his or her face. For example, this feature is available on

certain Android devices and is called "Trusted Face." During the Trusted Face registration

process, the user holds the device in front of his or her face. The device's front-facing camera

then analyzes and records data based on the user's facial characteristics. The device can then

be unlocked if the front-facing camera detects a face with characteristics that match those of

the registered face.   Facial recognition features found on devices produced by other

manufacturers have different names but operate similarly to Trusted Face.

       d.      If a device is equipped with an iris-recognition feature, a user may enable the

ability to unlock the device with his or her irises. For example, on certain Microsoft devices,

this feature is called "Windows Hello." During the Windows Hello registration, a user

registers his or her irises by holding the device in front of his or her face. The device then

directs an infrared light toward the user's face and activates an infrared-sensitive camera to

record data based on patterns within the user's irises. The device can then be unlocked if the

infrared-sensitive camera detects the registered irises. Iris-recognition features found on

devices produced by other manufacturers have different names but operate similarly to

Windows Hello.



                                              40
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 42 of 52




          e.   In my training and experience, users of electronic devices often enable the

aforementioned biometric features because they are considered to be a more convenient way

to unlock a device than by entering a numeric or alphanumeric passcode or password.

Moreover, in some instances, biometric features are considered to be a more secure way to

protect a device's contents. This is particularly true when the users of a device are engaged

in criminal activities and thus have a heightened concern about securing the contents of a

device.

          f.   As discussed in this Affidavit, your Affiant has reason to believe that one or

more digital devices will be found during the search. The passcode or password that would

unlock the DEVICES subject to search under this warrant currently is not known to law

enforcement. Thus, law enforcement personnel may not otherwise be able to access the data

contained within the DEVICES, making the use of biometric features necessary to the

execution of the search authorized by this warrant.

          g.   I also know from my training and experience, as well as from information

found in publicly available materials including those published by device manufacturers, that

biometric features will not unlock a device in some circumstances even if such features are

enabled. This can occur when a device has been restarted, inactive, or has not been unlocked

for a certain period of time. For example, Apple devices cannot be unlocked using Touch ID

when: (1) more than 48 hours has elapsed since the device was last unlocked; or, (2) when the

device has not been unlocked using a fingerprint for 8 hours and the passcode or password

has not been entered in the last 6 days. Similarly, certain Android devices cannot be unlocked

with Trusted Face if the device has remained inactive for four hours. Biometric features from
                                             41
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 43 of 52




other brands carry similar restrictions. Thus, in the event law enforcement personnel

encounter a locked device equipped with biometric features, the opportunity to unlock the

device through a biometric feature may exist for only a short time.

       h.     Due to the foregoing, if law enforcement personnel encounter any DEVICES

that are subject to seizure pursuant to this warrant and may be unlocked using one of the

aforementioned biometric features, this warrant permits law enforcement personnel to: (1)

press or swipe the fingers (including thumbs) of John Stuart and any other individual present

at the time of the execution of the search warrant to the fingerprint scanner of the DEVICES

found at the PREMISES; (2) hold the DEVICES found at the PREMISES in front of the face

of John Stuart and any other individual present at the time of the execution of the search

warrant and activate the facial recognition feature; and/or (3) hold the DEVICES found at

the PREMISES in front of the face of John Stuart and any other individual present at the time

of the execution of the search warrant and activate the iris recognition feature, for the purpose

of attempting to unlock the DEVICES in order to search the contents as authorized by this

warrant. The proposed warrant does not authorize law enforcement to compel that John

Stuart and any other individual present at the time of the execution of the search warrant state

or otherwise provide the password or any other means that may be used to unlock or access

the DEVICES. Moreover, the proposed warrant does not authorize law enforcement to

compel John Stuart and any other individual present at the time of the execution of the search

warrant to identify the specific biometric characteristics (including the unique finger(s) or

other physical features) that may be used to unlock or access the DEVICES.



                                              42
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 44 of 52




                                       CONCLUSION

       50.    Based on the foregoing, there is probable cause to believe that the federal

criminal statutes cited herein have been violated, and that the contraband, property, evidence,

fruits and instrumentalities of these offenses, more fully described in Attachment B, are

located at the locations described in Attachment A. I respectfully request that this Court issue

a search warrant for the locations described in Attachment A, authorizing the seizure and

search of the items described in Attachment B.



       52.    In addition, it is and has been the standard and ordinary practice of FBI that

during the execution of search warrants, Special Agents take entry and exit photographs of

the premises to be searched, as well as photographs of the specific places in which items are

found and from which items are seized. The purpose of this procedure is to preserve an

accurate record of the condition and appearance of the premises upon the arrival and exit of

the search team, and to preserve an accurate record of the locations within the premises where

items are found and from which such items are seized.




                                              43
  Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 45 of 52




                                  SEALING REQUEST

       53.    Finally, since this affidavit relates to an ongoing criminal investigation and

contains the names of individuals who are witnesses and/or targets in this matter, the

government respectfully moves this Court to issue an Order scaling until further order of the

Court, all papers submitted in support of this Application, including the Application,



                                                     ;z~ifo
Affidavit, and Search Warrant, and the required inventory notice (with the exception of one

copy of the warrant and the inventory notice that will                            searched).




                                                         MICHAEL HOCKWATER
                                                         Federal Bureau of Investigation
                                                         Task Force Officer



Sworn to and subscribed telephonically
     u •"
      l _ day of I'- h ( e/',
this __



HONO BLE MIC      L J. ROEMER
UNITED STATES MAGISTRATE JUDGE




                                             44
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 46 of 52




                                    ATTACHMENT A

                 DESCRIPTION OF LOCATION TO BE SEARCHED

       The entire property located at 1010 Cleveland Drive, Cheektowaga, New York
14225 including the residential building, any outbuildings, and any appurtenances thereto
(the SUBJECT PREMISES, further described as follows: a two story residence, white in color
with a detached two car garage located on the north side of the street. The number "1010" is
affixed to the front of the residence.




And the person of the following individual if he is present at the SUBJECT PREMISES at

the time of the search warrant's execution:




                                       John Stuart
                                Date of birth: June 1, 1998.
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 47 of 52




                                    ATTACHMENT B

                    ITEMS TO BE SEARCHED FOR AND SEIZED

       The following materials, which constitute evidence of the commission of a criminal

offense, contraband, the fruits of crime, or property designed or intended for use or which is

or has been used as the means of committing a criminal offense, namely violations of 18

U.S.C. § Section 2252A(a)(5)(B) and (b)(2) Possession of Child Pornography, to be searched

for and seized from the location and/ or person to be searched as described in Attachment A:



       1.     Computers, storage media, and any and all cellular phones that reasonably

appear to be under the custody or control of JOHN STUART (hereinafter, "DEVICES").



       2.     On any DEVICE whose seizure is otherwise authorized by this warrant:

       a.     all visual depictions, including still images, videos, films or other
              recordings, in whatever form, of child pornography or minors engaged
              in sexually explicit conduct, as defined in Title 18, United States Code,
              Section 2256, or engaged in sexually suggestive conduct (such as
              exposing and/ or touching their breasts or genitalia), and any
              mechanism used for the production, receipt, distribution,
              advertisement, or storage of the same;

       b.     any and all documents, records, images, videos, emails, email software,
              associated email addresses, email address book contents, internet
              history, browsing history, internet search history, cookies, deleted files,
              bookmarked and favorite web pages, user typed web addresses, desktop
              shortcuts, path and file names for files opened through any media
              and/ or image viewing software, chat software, chat applications, chat
              files, chat logs, chat names used, peer to peer software, peer to peer files,
              newsgroup postings by the user, IP addresses assigned, and other
              evidence pertaining to the receipt, distribution, transmission, and
              possession of child pornography;

                                               1
Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 48 of 52




 c.    any and all records, documents, programs, applications, or materials,
       including electronic mail and electronic messages, pertaining to or
       constituting communications with any individuals believed to be under
       the age of 18

 d.    evidence of who used, owned, or controlled the DEVICE at the time the
       things described in this warrant were created, edited, or deleted, such as
       logs, registry entries, configuration files, saved user names and
       passwords, documents, browsing history, user profiles, email, email
       contacts, "chat," instant messaging logs, photographs, and
       correspondence;

 e.    evidence of software that would allow others to control the DEVICE,
       such as viruses, Trojan horses, and other forms of malicious software,
       as well as evidence of the presence or absence of security software
       designed to detect malicious software;

 f.    evidence of the lack of such malicious software;

 g.    evidence indicating how and when the DEVICE was accessed or used
       to determine the chronological context of computer access, use, and
       events relating to the crime(s) under investigation and to the computer
       user;

 h.    evidence indicating the DEVICE user's knowledge and/or intent as it
       relates to the crime(s) under investigation;

 1.    evidence of the attachment to the DEVICE of other storage devices or
       similar containers for electronic evidence;

 J.    evidence of programs (and associated data) that are designed to
       eliminate data from the DEVICE;

 k.    evidence of the times the DEVICE was used;

 1.    passwords, encryption keys, and other access devices that may be
       necessary to access the DEVICE or other seized DEVICES;

 m.    documentation and manuals that may be necessary to access the
       DEVICE or to conduct a forensic examination of the DEVICE;

 n.   records of or information about Internet Protocol addresses used by the
      DEVICE;

                                       2
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 49 of 52




       o.      records of or information about the DEVICE's Internet activity,
               including firewall logs, caches, browser history and cookies,
               "bookmarked" or "favorite" web pages, search terms that the user
               entered into any Internet search engine, and records of user-typed web
               addresses; and

       p.      contextual information necessary to understand the evidence described
               in this attachment.


       3.      Routers, modems, and network equipment used to connect computers to the

Internet.



       4.      Entry and exit photographs of the premises to be searched, as well as

photographs of the specific places in which items are found and from which items are seized



       5.      Records, information, and items relating to violations of the statutes described

above including:

            a. Records, information, and items relating to the occupancy or ownership
               of the SUBJECT PREMISES, 1010 Cleveland Drive, Cheektowaga,
               New York 14225 including utility and telephone bills, mail envelopes,
               or addressed correspondence;

            b. Records, information, and items relating to the ownership or use of
               computer equipment found in the above residence, including sales
               receipts, bills for Internet access, and handwritten notes;

            c. Records and information relating to the identity or location of the
               persons suspected of violating the statutes described above;

            d. Records and information relating to sexual exploitation of children,
               including correspondence and communications between users of child
               pornography and exploitation websites.


                                              3
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 50 of 52




       As used above, the terms "records" and "information" includes all forms of creation

or storage, including any form of computer or electronic storage (such as hard disks or other

media that can store data); any handmade form (such as writing); any mechanical form (such

as printing or typing); and any photographic form (such as microfilm, microfiche, prints,

slides, negatives, videotapes, motion pictures, or photocopies).



       The term "computer" includes all types of electronic, magnetic,                  optical,

electrochemical, or other high-speed data processing devices performing logical, arithmetic,

or storage functions, including desktop computers, notebook computers, mobile phones,

tablets, server computers, and network hardware.



       The term "storage medium" includes any physical object upon which computer data

can be recorded, including external and internal hard drives, flash drives, thumb drives, micro

SD cards, macro SD cards, DVDs, gaming systems, SIM cards, cellular phones capable of

storage, floppy disks, compact discs, magnetic tapes, memory cards, memory chips, and other

magnetic or optical media.



       During the execution of the search of the PREMISES described in Attachment A, law

enforcement personnel are also specifically authorized to compel all individuals present at the

SUBJECT PREMISES to provide biometric features, including pressing fingers (including

thumbs) against and/ or putting a face before the sensor, or any other security feature requiring

biometric recognition, of:
                                               4
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 51 of 52




       (a)    any of the DEVICES found at the PREMISES, and

       (b)    where the DEVICES are limited to those which are capable of containing and
              reasonably could contain fruits, evidence, information, contraband, or
              instrumentalities of the offense(s) as described in the search warrant affidavit
              and warrant attachments,

for the purpose of attempting to unlock the DEVICES's security features in order to search

the contents as authorized by this warrant.



       This warrant does not authorize law enforcement personnel to compel any other

individuals found at the PREMISES to provide biometric features, as described in the

preceding paragraph, to access or otherwise unlock any DEVICE. Further, this warrant does

not authorize law enforcement personnel to request that John Stuart state or otherwise

provide the password or any other means that may be used to unlock or access the DEVICES,

including by identifying the specific biometric characteristics (including the unique finger(s)

or other physical features) that may be used to unlock or access the DEVICES.



       This warrant authorizes a review of electronic storage media and electronically stored

information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney

support staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete




                                              5
     Case 1:21-cr-00007-LJV-JJM Document 41-1 Filed 03/02/22 Page 52 of 52




copy of the seized or copied electronic data to the custody and control of attorneys for the

government and their support staff for their independent review.




                                              6
